     Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 1 of 16 Page ID #:718


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28     Ira Svendsgaard and Associates Inc.

                                   JOINT RULE 16(b)/26(f) REPORT
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     Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 2 of 16 Page ID #:719


                                 UNITED STATES DISTRICT COURT
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2                            CENTRAL DISTRICT OF CALIFORNIA
3
        ALLFASTENERS USA, LLC, an Ohio            Case No.: 2:18-cv-06929 JAK (RAOx)
4       limited liability company,
5
                    Plaintiff,
6                                                 JOINT RULE 16(b)/26(f) REPORT
7             v.

8       ACME OPERATIONS PTY., LTD.
9       d/b/a AJAX ENGINEERED
        FASTENERS, an Australian
10      corporation; and IRA SVENDSGAARD
11      & ASSOCIATES, a California
        corporation,
12
13                  Defendants.

14
15           Plaintiff Allfasteners USA, LLC ("Plaintiff") and Defendants Acme Operations Pty.,
16     Ltd. and Ira Svendsgaard & Associates, Inc. (“Defendants”) hereby respectfully submit the
17     following joint report, pursuant to Federal Rules of Civil Procedure 16(b) & 26(f), Local
18     Rule 26-1, and the Court’s November 14, 2018 Order.
19           Defendants respectfully submit that there are substantial and material matters
20     relevant to Defendants’ defense and prosecution of their counterclaims herein; which are
21     more extensive than the space nominally allotted herein. These matters are in substantial
22     part, related to certain prior patent infringement litigation between Ajax (Plaintiff) and
23     AllFasteners (Defendant). Therefore the Defendants have set forth these matters in
24     Defendants’ Supplement to Legal Issues. This Supplement is submitted solely by
25     Defendants and contemporaneously filed herewith and incorporated herein.
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                                     JOINT RULE 16(b)/26(f) REPORT
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     Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 3 of 16 Page ID #:720



1                                STATEMENT OF THE CASE
2            Plaintiff filed its Complaint on August 13, 2018. Plaintiff contends that Defendants
3      have infringed claims 1-6 of U.S. Patent No. 10,018,212 (“the ‘212 Patent”) by selling two
4      products – the ONESIDE TC Hi-Shear and ONESIDE Hi-Shear blind bolt fasteners – that
5      infringe claims 1-3 of the ‘212 patent and by directing Defendants’ customers to use the
6      accused products in methods that infringe claims 4-6 of the ‘212 patent.
7            Defendants filed their Answers to Plaintiff’s Complaint on November 8, 2018. In
8      their separate Answers, Defendants’ responded in substantial detail to the de-facto generic
9      assertions in the Complaint; and they each asserted numerous affirmative defenses;
10     including those based upon the existence of, but not disclosing the content of a Confidential
11     Settlement between Plaintiff and Defendant Ajax entered into in certain Prior Litigation.
12     The Prior Litigation is also discussed in Defendants’ Supplement to Legal Issues.
13           Defendants also filed separate Counterclaims seeking declaratory judgment of
14     invalidity, unenforceability, and non-infringement of the ‘212 patent based on inequitable
15     conduct and/or fraud on the Patent Office under 37CFR § 1.56, invalidity under 35USC §
16     102 and §103; as well as an award pursuant to 35 U.S.C. §285.
17           Plaintiff filed its Answers to the Counterclaims on December 7, 2018.
18           Presently, Defendants also contend that there are material threshold factual and legal
19     issues which must be resolved; as further set forth in Defendants’ Supplemental Legal
20     Issues.
21                               SUBJECT MATTER JURISDICTION
22                  This action arises under the patent laws of the United States, 35 U.S.C. §271.
23     This Court has jurisdiction over the action pursuant to 28 U.S.C. §§ 1331 and 1338 (a).
24                  Defendants agree that jurisdiction under 28 U.S.C. §§ 1331 and 1338 (a) and
25     is proper as well as under 35 USC 285
26                                          LEGAL ISSUES
27               1. Plaintiff
28              Whether Defendants infringe the ‘212 Patent;

                                      JOINT RULE 16(b)/26(f) REPORT
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     Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 4 of 16 Page ID #:721



1               Whether Plaintiff is entitled to damages from Defendants;
2               Whether a permanent injunction should be entered enjoining Defendants from
3                infringing the ‘212 Patent;
4               Whether the Plaintiff is entitled to enhanced costs, damages, and attorneys’ fees
5                under 35 U.S.C. § 285.
6                2. Defendants’ Legal Issues; the ‘212 Patent
7                     o Whether the ‘212 Patent is invalid and unenforceable because of
8                         Plaintiff, the inventors, and patent counsel violated:
9                     o (i) 37 CFR §1.56(c): Duty to Disclose information material to
10                        patentability,
11                    o (ii) Section 2001.5; Duty to Disclose Information Material to
12                        Patentability;
13                    o (iii) Section 2001.06; Duty to disclose material information from the
14                        Prior Litigation and its pendency during the ‘212 application;
15                    o Whether the Plaintiff obtained the ‘212 Patent by engaging in fraud
16                        before the United States Patent Office;
17                    o Whether the ‘212 Patent is invalid and unenforceable because the
18                        claimed inventions in the ‘212 Patent are the inventions of the
19                        Defendants and/or non-parties known to Plaintiff, the inventors, and
20                        patent counsel;
21                    o Whether the ‘212 Patent is invalid and/or unenforceable by reason that
22                        the claims therein are (i) anticipated under 35 U.S.C. § 102 and/or the
23                        (ii) absence of novelty under 35 U.S.C. § 103;
24                    o Whether the Defendants actually practice the inventions set forth in the
25                        ‘212 Patent.
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                                      JOINT RULE 16(b)/26(f) REPORT
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     Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 5 of 16 Page ID #:722



1                Whether the Defendants are entitled to enhanced costs, damages, and attorneys’
2                 fees under 35 U.S.C. § 285 to be assessed against the Plaintiff, the inventors,
3                 and/or patent counsel.
4                Whether patent counsel can be deposed; and to what extent in this proceeding,
5                 with regard to the foregoing matters and their potential liability.
6                 Defendants’ Legal Issues: Non-Patent
7                Whether the Plaintiff’s claims are barred by a Confidential Settlement
8                 Agreement entered into in Prior Litigation;
9                Whether the Defendants are entitled to initial relief pursuant to Fed. Civ. R. 11;
10               Whether the Defendants’ proposed modification to the Court’s standing
11                protective order should be entered over Plaintiff’s objections to permit the use
12                of information from the Prior Litigation, which is presently prohibited by a
13                permanent Protective Order in that matter;
14               Whether the case should be stayed (i) during the pendency of any Rule 11 motion
15                practice; and/or the completion of early mediation as jointly requested.
16           In addition to the nominal recitation of the above matters, Defendants further
17     respectfully submits Defendants’ Supplemental Legal Issues.
18           Each party reserves the right to supplement this list of legal issues.
19                                    PARTIES, EVIDENCE, ETC.
20           PLAINTIFF
21           A. Parties
22           Plaintiff is an Ohio corporation with a place of business in Santa Fe Springs,
23     California. Plaintiff is the assignee of all of the rights to the ‘212 Patent from the inventors
24     of the ‘212 Patent, including but not limited to the right to sue and the right to defend.
25     Plaintiff is the only authorized seller of products incorporating the technology of the ‘212
26     Patent.
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                                       JOINT RULE 16(b)/26(f) REPORT
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     Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 6 of 16 Page ID #:723



1            B. List of Plaintiff’s Witnesses
2            Plaintiff contemplates calling as witnesses the inventors of the ‘212 Patent, Michael
3      Strange and Bruce Carmichael.            Plaintiff also contemplates calling corporate
4      representatives of Defendants. Plaintiff also contemplates potentially calling a corporate
5      representative of Crown Castle of Canonsburg, Pennsylvania.
6            Depending on the positions taken by Defendants in the case, Plaintiff contemplates
7      calling an expert witness regarding the infringement of the ‘212 Patent by products sold by
8      Defendant and/or the validity of the ‘212 Patent. Plaintiff may also call an expert witness
9      on damages. Plaintiff has not named such experts at this time.
10           Plaintiff reserves the right to supplement and modify this list of witnesses after
11     further case development and discovery.
12           C. Plaintiff’s Documents
13           Plaintiff’s evidence includes the ‘212 Patent, examples of the infringing products
14     sold by Defendant and documents showing the infringing products, Defendants’
15     instructions for using the infringing products, documents showing the sales of products by
16     Defendants that infringe on claims of the ‘212 Patent and Defendants’ revenue/profit
17     therefrom, examples of Plaintiff’s products incorporating the technology of the ‘212 Patent,
18     and documents showing Plaintiff’s lost profits due to Defendants sales of infringing
19     products. Plaintiff reserves the right to supplement and modify this list of documents after
20     further case development and discovery.
21           D. Subsidiaries, Parents and Affiliates
22           Plaintiff is affiliated with Allfasteners USA, LLC, a California limited liability
23     company, and Allfasteners Midwest, LLC, a Nebraska limited liability company.
24     DEFENDANT
25           A.     Parties
26           1. Defendant Acme Operations Pty. Ltd. is an Australian corporation with its sole
27     and principal place of business in Melbourne, Australia.
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                                      JOINT RULE 16(b)/26(f) REPORT
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     Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 7 of 16 Page ID #:724



1            2. Defendant Ira Svendsgaard and Associates Inc. is a California Corporation with
2      its principal place of business in Placerville, California.
3            B.     List of Defendants’ Witnesses
4            The Defendants have identified and disclosed pursuant to Fed. Civ. R. 26; 17
5        witnesses who are known to have material information relevant to the proceedings;
6        which include 3 Ajax employees, 3 Svendsgaard employees, the 2 named inventors, 3
7        attorneys involved in the ‘212 application which were/are employed by Plaintiffs lead
8        counsel’s law firm, and 6 non-party witnesses comprised mainly of the Parties’
9        customers and/or vendors.
10           C.     Defendant’s Documents
11           1. The Defendants have initially identified and disclosed pursuant to Fed. Civ. R. 26,
12       35 non-confidential documents which Defendants contend establish not only prior art,
13       but also independent inventorship of the claimed invention by Defendants and non-
14       parties.
15           2. In addition, Defendants have identified and disclosed the six related patent
16       applications noted above made by Plaintiff; at least 8 additional patents, including
17       Defendant Ajax’s US Patent No, 7,373,709; and the file histories of the identified patents
18       for the purposes of demonstration of prior art and inequitable conduct.
19           3. Defendants have also identified, disclosed by identification only, and expect to
20       utilize and/or introduce over 1250         pages of documents and records produced,
21       exchanged, and/or filed in the Prior Litigation; all of which are presently subjected to
22       a Protective Order in that matter and cannot be used in this proceeding absent a
23       modification to this Court’s standing order; which matters are further set forth in
24       Defendants’ Supplement to Legal Issues.
25           D.     Subsidiaries, Parents and Affiliates
26           1. Acme Operations Pty. is affiliated with Acme Holdings Pty. Limited by the
27       common ownership of family shareholders.
28

                                       JOINT RULE 16(b)/26(f) REPORT
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     Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 8 of 16 Page ID #:725



1            2. Ira Svendsgaard has no parent or subsidiary but is commercially affiliated with
2      Ajax as its exclusive United States distributor of the OneSide bolting products and systems.
3            3. Plaintiff Entities
4            a. Defendants have identified additional multiple corporate entities which claim
5      affiliation with Plaintiff and/or also sell certain of Plaintiff’s products which allegedly
6      incorporate the patented inventions: (i) Allfasteners Financial LLC (Ohio), (ii) AllFastners
7      LA LLC (California) (iii) AllFastners Midwest LLC (Nebraska), (iv) AllFastners USA
8      LLC (California) and (v) AllFasteners Pty. Ltd. (Australia).
9            b. First Merit Bank NA (Ohio) apparently claims a security interest in the ‘212 Patent
10     through the purported assignee, Plaintiff.
11                                             DAMAGES
12           1. Plaintiff’s Damages Position
13           Plaintiff's present estimate of damages is at least $1,000,000 to date. However,
14     Plaintiff notes that the ‘212 Patent recently issued on July 10, 2018. Accordingly, damages
15     to date are relatively limited. Defendants continue to sell infringing products and Plaintiff
16     expects that damages will have increased substantially by the date of trial.
17           2. Defendants’ Damages Position
18           Defendants’ assert that even presuming that infringement, validity, and
19     enforceability can be established; which Defendants unconditionally dispute; for the
20     purpose of this Report, Defendants submit the following:
21           a. Plaintiff’s damages are limited to the value of a single component of the allegedly
22     infringing device which is set forth in a single discrete sentence in Claim 1 of the ‘212
23     patent (Column 12, Lines 9-10; and as ‘spring 62’ in the drawings and description.
24           b. This single component, an unattached light gauge steel coil spring, is the only
25     part of the allegedly infringing device which is not already set forth in the Defendant Ajax’s
26     2008 7,373,709 patent.
27           c. The value of the subject steel spring is known to be approximately $0.062-$0.11
28     per device; therefore Defendant contends that Plaintiff’s monetary claims cannot be

                                      JOINT RULE 16(b)/26(f) REPORT
                                                   8
     Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 9 of 16 Page ID #:726



1      reasonably expected to be more than $50,000.00 over the remaining 19+ year life of the
2      patent.
3              d. Defendants intend to immediately seek damages and sanctions for it costs of
4      defense in excess of $250,000.00 as incurred to date pursuant to Fed. Civ.R.11 by providing
5      Plaintiff with a notice pursuant to Paragraph (c) (2) of the Rule by no later than January 9,
6      2019.
7              e. The foregoing is also set forth in relevant parts of Defendants’ Supplement to
8      Legal Issues.
9                                              INSURANCE
10             The parties are unaware of any insurance coverage applicable to the claims in this
11     case.
12                                              MOTIONS
13             The parties do not intend to file a motion to transfer venue.
14             Plaintiff does not presently anticipate filing any motions to add parties or amend
15     their pleadings, although Plaintiff reserves the right to make such motions should
16     discoverable evidence warrant such motions.
17             Defendants assert the same reservations.
18             1. Defendants Initial Motions and Submittals
19             a. January 9, 2019; Defendants Motion to Modify Protective Order;
20             b. January 9, 2019, Defendants’ ‘Non-Motion Request for In-Person Case
21     Management Conference;
22             c. January 9, 2019; Defendants’ Fed. Civ. R. 11 Paragraph 2 (c) safe harbor
23     communication to Plaintiff;
24             d. January 16, 2019 Defendants’ Motion to Stay pending earliest ADR Procedure
25     No. 1 under Local Rule 16-15.4; (ex. Defendants’ Invalidity and Unenforceability
26     Contentions [due January 25, 2019]);
27             e. January 23, 2019 and/or TBD; Defendants’ Fed. Civ. R. 11 Motion for Dismissal
28     and Sanctions;

                                       JOINT RULE 16(b)/26(f) REPORT
                                                    9
    Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 10 of 16 Page ID #:727



1           f. January 23, 2019; Defendants Motion to Stay pending the adjudication of
2     Defendants’ Fed. Civ. R. 11 Motion;
3           g. The foregoing is also set forth in relevant parts of Defendants’ Supplement to
4     Legal Issues.
5                             MANUAL FOR COMPLEX LITIGATION
6           While the Patent section of the Manual for Complex Litigation provides some
7     helpful suggestions for patent cases, the parties concur that this case should not be governed
8     by the procedures therein, and further believe that this Court’s Standing Patent Rules are
9     sufficient to govern this case.
10                                      STATUS OF DISCOVERY
11          Plaintiff served its Infringement Contentions pursuant to the Standing Patent Rules
12    for cases assigned to Judge John A. Kronstadt (“S.P.R.”) 2.1 and 2.2 on December 6, 2018.
13          The parties exchanged Initial Disclosures pursuant to FRCP Rule 26(a) on December
14    18, 2018.
15          Plaintiff served Requests for Production of Documents and Interrogatories on both
16    Defendants on December 28, 2018.
17          Defendants will serve their Initial Invalidity and Unenforceability Contentions on
18    January 25, 2019; however due to the Protective Order in the Prior Litigation, said
19    Contentions could be required to be filed In Camera.
20                                         DISCOVERY PLAN
21    PLAINTIFF:
22          Plaintiff has propounded a first round of written discovery, consisting of
23    interrogatories and requests for production of documents. Plaintiff anticipates taking Rule
24    30(b) (6) depositions of both Defendants’ corporate representatives.           Plaintiff also
25    anticipates taking depositions of Defendants’ employees Samman Fernando, Justin
26    Murphy, and Peter Svendsgaard. Plaintiff may also take a deposition of a one or more
27    representatives of Crown Castle. Plaintiff may take further depositions based upon
28    discovery responses from Defendant. Plaintiff may propound additional written discovery

                                        JOINT RULE 16(b)/26(f) REPORT
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    Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 11 of 16 Page ID #:728



1     based upon Defendants’ responses to Plaintiff’s previous discovery requests, as allowed
2     under the FRCP. Plaintiff does not believe any of the FRCP’s limitations on discovery
3     need to be changed.
4     DEFENDANT:
5           a. Defendants nominally anticipate prompt service of written discovery upon
6     Plaintiff as Interrogatories, Requests for Production of Documents, and Requests for
7     Admissions by no later than January 20, 2019.
8           b. Defendants also intend to initially and promptly depose:
9           (i) The inventors, Michael Strange and Bruce Carmichael, a corporate representative
10    of Plaintiff, and the three attorneys which represented the Plaintiff and the inventors in
11    applications for the ‘212 and ‘478 patents and the six related applications;
12          (ii) The Records Custodians of the Plaintiff and the Luedeka Neely law firm;
13          (iii) At least six identified and disclosed non-party witnesses and four non-party
14    records custodians with regard to the inventorship and prior art matters raised in the
15    Counterclaim and Affirmative Defenses;
16          (iv) Defendants may take further depositions based upon discovery responses from
17    Plaintiff, depositions of non-party witnesses, and the outcome of the requested
18    modification of the Protective Order;
19          (v) Defendants may propound additional written discovery to Plaintiff based upon
20    Plaintiff’s responses to Defendants previous discovery requests, individual and records
21    depositions of non-party witnesses; and the outcome of the modification of the Protective
22    Order; as allowed under the FRCP;
23          (vi) Defendants do not presently believe any of the FRCP’s limitations on discovery
24    need to be changed but reserve their right to seek relief therefrom in the future.
25                                     DISCOVERY CUT-OFF
26          The parties propose a discovery cut-off of September 30, 2019.
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                                     JOINT RULE 16(b)/26(f) REPORT
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    Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 12 of 16 Page ID #:729



1                                          EXPERT DISCOVERY
2              The parties propose to follow the schedule set forth in S.P.R. §§ 4.1 – 4.3, on the
3     dates set forth in Exhibit A attached hereto.
4                                         DISPOSITIVE MOTIONS
5              The parties propose a deadline of October 28, 2019, for filing general dispositive
6     motions.
7              1. Plaintiff anticipates filing a motion for summary judgment on the issue of
8     infringement of the ‘212 Patent and possibly on the issue of validity of the ‘212 Patent.
9              2. Defendants anticipate filing a motion for summary judgment on the issue of non-
10    infringement of the ‘212 Patent and invalidity and non-enforceability of the ‘212 Patent on
11    or before the end of fact discovery.
12             3. Defendants also anticipate filing a Motion to Dismiss and for Sanctions within 21
13    days of January 9, 2019, unless Plaintiff agrees to Defendants demands which will be set
14    forth in their Fed, Civ. R. 11; Rule 2(c) communication of that date.
15                                              SETTLEMENT
16             The parties have had brief discussions regarding settlement of the instant matter. The
17    Parties agree to ADR Procedure No. 1 under Local Rule 16-15.4.
18             Defendants believe the earliest possible ADR Procedure No. 1 would be the most
19    productive and cost effective.
20             Plaintiff believes the parties should first engage in initial discovery such that Plaintiff
21    may better understand the basis of Defendants’ defenses and review Defendants’ alleged
22    evidence in support of such defenses, which Defendants have to date refused to disclose.
23             Defendants disagree and state that the Plaintiff’s requests for ‘evidence’ cannot be
24    responded to without violation of the Protective Order in the Prior Litigation
25             Defendants further reiterate that early ADR can be undertaken as soon as the
26    modification of the Standing Order in this case is resolved.
27             The foregoing is also set forth in relevant parts of Defendants’ Supplement to Legal
28    Issues

                                         JOINT RULE 16(b)/26(f) REPORT
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    Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 13 of 16 Page ID #:730



1                                         TRIAL ESTIMATE
2           The parties estimate that the trial will take ten (10) days.
3                                          TRIAL COUNSEL
4           For Plaintiff, this case will be tried by Michael J. Bradford, Andrew S. Neely, and
5     Peter S. Veregge.
6           For Defendants, this case will be tried by Robert W. McIntyre, and Thomas A. Barni.
7                              INDEPENDENT EXPERT OR MASTER
8           The parties do not believe an independent expert or master will be necessary.
9                                              OTHER ISSUES
10          1. Patent Protective Order
11          Judge Kronstadt’s Standing Protective Order for Patent Cases was entered in this
12    case on August 29, 2018. Doc. 24, Exh. E.
13          a. Plaintiff does not believe any modifications to the Protective Order are necessary.
14          b. Defendant has stated and will move the Court to nominally modify the Standing
15    Protective Order to permit the Parties’ use of all materials presently subject to the
16    Protective Order in the Prior Litigation.
17          c. Defendants anticipate taking the depositions of the Records Custodian of the
18    Plaintiff’s law firm and the three attorneys who represented Plaintiff and the inventors in
19    the application for the ‘212 patent, the ‘478 patent and six related applications. Defendant
20    anticipates motion practice in regards to privilege and fraud exceptions.
21          d. Fed. Civ. R. 11; as noted herein Defendants anticipate commencing Rule 11
22    proceedings on January 9, 2019 with the transmittal of ‘safe harbor’ communications to
23    Plaintiff and its lead counsel’s firm.
24          e. Material deficiencies exist in the Plaintiff’s Complaint and in its Infringement
25    Contentions; the latter of which Defendants’ have requested supplementation but which
26    has been declined. Defendants anticipate motion practice to compel appropriate
27    submissions.
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                                      JOINT RULE 16(b)/26(f) REPORT
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    Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 14 of 16 Page ID #:731



1           f. Record Preservation communications have been sent to Plaintiff’s trial and local
2     counsel regarding Plaintiff’s records; and separately to Plaintiff’s counsel regarding the
3     law firm’s records regarding patent office representation. There have been no written
4     responses.
5           g. The foregoing is also set forth in relevant parts of Defendants’ Supplement to
6     Legal Issues
7                                         CLAIM CONSTRUCTION
8           1. Plaintiff
9           In accordance with the proposed schedule attached as Exhibit A, the Plaintiff
10    proposes a deadline of February 22, 2019, for the exchange of claim constructions and a
11    deadline of March 29, 2019, to file a Joint Claim Construction Statement with the Court.
12    The Plaintiff proposes a deadline of April 5, 2019, to file initial claim construction briefs,
13    with responsive claim construction briefs due by April 19, 2019. The Plaintiff proposes a
14    claim construction hearing on May 10, 2019.
15          2. Defendants
16          The Defendants do not agree to the Plaintiff’s proposed schedule for the reasons that:
17          a. Claims construction proceedings are not immediately required and are premature:
18          (i) Until the Protective Order issues are resolved to permit information from the Prior
19    Litigation to be utilized; including the claims construction submitted by Plaintiff in the
20    Prior Litigation; to avoid the Defendants being materially prejudiced by the absence of
21    such information;
22          (ii) Until the threshold issues of invalidity, unenforceability, and inequitable conduct
23    are determined which are expected to dispositive, and will therefore eliminate the need for
24    claims construction;
25          (iii) Until the Fed. Civ R. 11 proceedings are completed which could be dispositive
26    with regard to the entire matter;
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                                     JOINT RULE 16(b)/26(f) REPORT
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    Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 15 of 16 Page ID #:732



1             (iv) Until at least the initial discovery noted above is completed and most
2     particularly, the claims construction, non-infringement, and invalidity submissions by
3     Plaintiff as Defendant in the Prior Litigation are available.
4             b. The foregoing is also set forth in relevant parts of Defendants’ Supplement to
5     Legal Issues.
6             In summary, the Defendants’ position is that claims construction is premature and a
7     waste of resources in the context of dispositive matters that have a potential to determine
8     the entire matter; or at the least, put the parties on an even playing field with regards to
9     Plaintiff’s consistency and representations regarding this matter and the Prior Litigation.
10                                      MAGISTRATE JUDGE
11                  The parties do not consent to having a Magistrate Judge preside over the entire
12    case.
13                                    PROPOSED TRIAL DATE
14                  The parties propose the pre-trial dates and trial date in the attached schedule
15    A.
16
17    Dated: January 4, 2019              LUEDEKA NEELY GROUP, P.C.
18
19                                        /s/Michael J. Bradford
                                          Michael J. Bradford
20
                                          Attorneys for Plaintiff
21
22    Dated: January 4, 2019              DINN, HOCHMAN & POTTER, LLC
23
24                                        /s/Robert W. McIntyre
                                          Robert W. McIntyre
25
                                          Attorneys for Defendants
26
27
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                                      JOINT RULE 16(b)/26(f) REPORT
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    Case 2:18-cv-06929-JAK-RAO Document 50 Filed 01/04/19 Page 16 of 16 Page ID #:733


                                           PROOF OF SERVICE
1
2            I am over the age of eighteen (18) years, employed in the County of Knox, and not
      a party to the above-entitled action. My business address is 900 S. Gay Street, Suite
3
      1504, Knoxville, Tennessee 37902.
4
5           On January 4, 2019, I served:

6                  Joint Rule 16(b)/26(f) Report
7           to be sent by ECF electronic mail to the following:
8           Jen-Feng Lee, Esq.
            Jflee@ltpacificlaw.com
9           Kenneth K. Tanji, Jr., Esq.
10          ktanji@ltpacificlaw.com
            LT PACIFIC LAW GROUP LLP
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21           I declare, under penalty of perjury under the laws of the United States of America
22    that the foregoing is true and that I am an attorney of record for the defendant in this case.
23          Executed on January 4, 2019, at Knoxville, Tennessee.
24
                                                           /s/ Michael J. Bradford        \
25                                                             Michael J. Bradford
26
27
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                                     JOINT RULE 16(b)/26(f) REPORT
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